Case 08-14631-GMB           Doc 642    Filed 09/12/08 Entered 09/12/08 15:49:19          Desc Main
                                      Document     Page 1 of 7



 LOWENSTEIN SANDLER PC
 Michael S. Etkin, Esq. (ME 0570)
 Bruce Buechler, Esq. (BB 0324)
 65 Livingston Avenue
 Roseland, New Jersey 07068
 Tel: (973) 597-2500
 Fax: (973) 597-2400
 Attorneys for Euler Hermes ACI

                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY


 In re:                                            Chapter 11

 SHAPES/ARCH HOLDINGS L.L.C., et al.,              Case No. 08-14631 (GMB)

                              Debtors.             Jointly Administered

                                                   Hearing Date: September 22, 2008 at 10:00 a.m.

                                                   Oral Argument Requested


                       EULER HERMES ACI'S OPPOSITION
               TO DEBTORS’ OBJECTION SEEKING TO RECLASSIFY THE
            ADMINISTRATIVE CLAIM OF EULER HERMES ACI, AS ASSIGNEE
            OF RUSAL AMERICA CORP., TO A GENERAL UNSECURED CLAIM

                    Euler Hermes ACI ("Euler"), as assignee of Rusal America Corp. ("Rusal"), a

 creditor of the above-captioned debtors (the "Debtors"), by and through its undersigned
 attorneys, hereby submits this opposition (the "Opposition") to the Debtors' objection (the

 "Objection") seeking to reclassify the administrative claim of Euler, as assignee of Rusal, to a

 general unsecured claim. In support of this Opposition, Euler respectfully states as follows:

                    1.    Pursuant to 11 U.S.C. § 503(b)(9), Euler holds a valid administrative

 claim in the amount of $959,059.54 for goods shipped, delivered and received by the Debtors in

 the 20 days prior to the commencement of their bankruptcy cases (the "Section 503(b)(9)
 Claim"). The Debtors do not otherwise dispute the legal validity or amount of Euler's Section

 503(b)(9) Claim, but instead contend that the invoices underlying such claim were paid by the


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Case 08-14631-GMB             Doc 642      Filed 09/12/08 Entered 09/12/08 15:49:19                       Desc Main
                                          Document     Page 2 of 7



 Debtors in full prior to the commencement of the Debtors' bankruptcy cases on March 16, 2008

 (the "Petition Date"). Opposition at ¶ 17-18.

                  2.       As the sole basis for this contention, the Debtors rely on inconspicuous

 notations made in the "Remark" section of certain wire transfer transaction detail reports

 apparently sent to the Debtors' bank, J.P. Morgan Chase (the "Detail Reports", annexed as

 Exhibit "B" to the Debtors' Objection), which purportedly evidence the Debtors' direction to

 Rusal to apply the subject wire transfer payments to the particular invoices that form the basis of

 Euler's Section 503(b)(9) Claim.1 However, this alleged direction regarding the application of

 payments was, at best, made to J.P. Morgan Chase, the Debtors' bank, and was never made to

 Rusal prior to or at the time of Rusal’s receipt of the payments.

                  3.       Furthermore, as set forth in the Certification of Richard Kellner, Rusal's

 CEO, submitted herewith (the "Kellner Cert."), any notation on the Detail Reports would not be
 binding on Rusal under the terms of the Addendum to the sales contract between the Debtors and

 Rusal (the "Addendum", attached to the Kellner Cert. as Exhibit "A"). Kellner Cert. at ¶ 3. The

 section of the Addendum titled "Remittances" specifically provides as follows:
                  No receiving agency or depository has authority to settle claims for
                  Seller or to accept payment tendered as payment in full.
                  Therefore, Buyer agrees that notwithstanding any endorsements or
                  other legend appearing on Buyer's checks, drafts or other orders for
                  payment of money, they do not because of such endorsement or
                  legend, or otherwise, constitute payment in full or settlement of
                  account.

 Therefore, under the express terms of the parties' sales contract, any notation by the Debtors in

 the Detail Reports with respect to allocation of payments would not be binding on Rusal even if

 Rusal's bank, Wachovia Bank, could be said to have received the Debtors' purported directions.

 1
   Notwithstanding the Debtors' assertion to the contrary, see Objection at ¶ 25, the first of the five Detail Reports
 submitted by the Debtors contains no "Remark" section and no notation with respect to the intended application of
 the subject payment. See Exhibit "B" to the Objection. The Debtors further erroneously allege that the total amount
 of the wire transfers at issue equals the exact amount of Euler's administrative claim. In fact, there is a $29.65
 difference ($959,059.54 claim amount minus $959,029.89 wire transfer total).




                                                         -2-
Case 08-14631-GMB              Doc 642      Filed 09/12/08 Entered 09/12/08 15:49:19                         Desc Main
                                           Document     Page 3 of 7



                   4.       As set forth in detail in the Kellner Cert., Rusal never received a copy of

 the Detail Reports from the Debtors at all and did not even have access to the Detail Reports

 either prior to or contemporaneously with receiving the subject wire transfer payments. Kellner

 Cert. at ¶ 2. Rather, the Detail Reports were apparently sent by the Debtors to their bank, J.P.

 Morgan Chase, to initiate the wire transfer of funds to Rusal's bank, Wachovia Bank. Id.

 Furthermore, prior to the Petition Date and separate and apart from the language in the

 Addendum to the sales contract, Rusal never received any notice from the Debtors or their agents

 directing that any monies received by Rusal for payment of outstanding invoices be applied to

 any particular invoices prior to Rusal’s receipt of the funds. Id. Thus, in the absence of any
 specific direction from the Debtors to the contrary, Rusal was entitled to, and did in fact, apply

 the subject wire transfer payments received from the Debtors to Rusal's oldest open invoices

 consistent with Rusal’s ordinary course of business in dealing with the Debtors over the course

 of five-plus years. Id. at ¶ 7. Rusal never credited the wire transfers in question to the goods

 shipped, delivered and received by the Debtors in the 20 days prior to the Petition Date. Id.

 Thus, Rusal was never paid for such goods which form the basis of the Section 503(b)(9) Claim.

 Id.

                   5.       While the Debtors rely on New Jersey law in support of their Objection,

 the Addendum provides that the sales contract is to be governed by and construed under the laws

 of the State of New York. See Addendum, attached to the Kellner Cert. as Exhibit "A". Thus,

 Euler submits that New York law is applicable here.2



 2
   New Jersey law on the issues discussed herein appears to be substantially the same as the law of New York. Under
 New Jersey law, "a creditor who is owed more than one debt by a debtor may apply the payments to the debtor's
 account in any manner it chooses so long as the debtor has not issued specific directions to the contrary." Craft v.
 Stevenson Lumber Yard, Inc., 179 N.J. 56, 72, 843 A.2d 1076, 1085 (2004) (citing United Orient Bank v. Lee, 208
 N.J. Super. 69, 72 n.1, 504 A.2d 1215, 1217 (App. Div. 1986). See also Borough of Totowa v. Am. Sur. Co. of
 N.Y., 39 N.J. 332, 338, 188 A.2d 586, 589-90 (1963) ("A debtor may direct to which of several debts his payment
 shall be applied, and if the debtor does not manifest to his creditor his intention thus to apply, the creditor may apply
 it to his own advantage, such as to an unsecured debt rather than a secured one or to the oldest item."). To the extent
 this Court determines that New Jersey law applies to the issues raised herein, Euler reserves the right to supplement
 this Opposition as necessary.


                                                           -3-
Case 08-14631-GMB        Doc 642     Filed 09/12/08 Entered 09/12/08 15:49:19            Desc Main
                                    Document     Page 4 of 7



                6.      Under New York law, "[it] is a well-settled principle that a debtor owing

 on more than one obligation to another has the right to direct the creditor in the application of

 funds in reduction of any one or more of the debts." Central Nat'l Bank v. Paton, 109 Misc.2d 42,

 43 (N.Y. Sup. Ct. 1981). However, "where there is no direction as to the application of the funds

 and no agreement or understanding in that regard, the payments may be applied as the

 creditor elects." Id. at 44 (citation omitted) (emphasis added). "In order for the debtor to avail

 himself of the right to direct application of the funds in payment of an obligation, such advice

 must be given before or at the time of the payment, or the right is lost, in that the money then

 becomes the property of the creditor." Id. (citing 43 NY Jur, Payment, § 61) (emphasis added).
 See also In re Applied Logic Corp., 576 F.2d 952, 965 (2d Cir. 1978) ("[The debtor] … did not

 manifest an intention as to how the funds were to be applied. In such a situation, Professor

 Williston noted, the 'creditor is allowed to make the appropriation in the way most advantageous

 for himself without regard to the interests of the debtor …'") (citing 15 Williston, Contracts §

 1796 (3d ed. 1972)); Snide v. Larrow, 62 N.Y.2d 633, 634 (1984) ("The general rule is that the

 debtor may direct the application of his payments, but if he fails to do so, then the creditor is

 permitted to apply the payments as he sees fit.") (citations omitted); Comparato v. Wegman, 272

 A.D.2d 907 (N.Y. App. Div. 4th Dep't 2000) ("Where a debt is composed of several items,

 absent a direction by the debtor, the creditor may apply a voluntary payment by the debtor "as it

 sees fit and to its best advantage".); Wilcox Press v. John-Sandy, 216 A.D.2d 727, 728 (N.Y.

 App. Div. 3d Dep't 1995) ("[I]t is well-established law that, when a debtor owes more that one

 debt to a creditor and, as in this case, fails to direct the manner in which the payments are to be

 applied, the creditor may apply the payments between or among the debts as it wishes.")

 (citations omitted).

                7.      As the court noted in Central Nat'l Bank v. Paton, supra, under New York

 law, a debtor's direction as to how a payment should be applied "must be given before or at the

 time of the payment, or the right is lost". 109 Misc.2d 42 at 44. Consistent with this principle,



                                                 -4-
Case 08-14631-GMB         Doc 642    Filed 09/12/08 Entered 09/12/08 15:49:19            Desc Main
                                    Document     Page 5 of 7



 the Restatement (Second) of Contracts § 258 (1981), provides that a direction made by an

 obligor regarding application of a particular payment must be made to the obligee "at or before

 the time of performance", and not thereafter:
                (1) Except as stated in Subsection (2), as between two or more
                contractual duties owed by an obligor to the same obligee, a
                performance is applied according to a direction made by the
                obligor to the obligee at or before the time of performance.

                (2) If the obligor is under a duty to a third person to devote a
                performance to the discharge of a particular duty that the obligor
                owes to the obligee and the obligee knows or has reason to know
                this, the obligor's performance is applied to that duty.

 Restatement (Second) of Contracts § 258 (1981) (emphasis added).

                8.      Here, assuming, arguendo, that the Detail Reports sent to J.P. Morgan

 Chase (the Debtors' bank) could somehow constitute notice to Rusal of the Debtors' alleged

 direction regarding application of the subject wire transfer payments, such notice was not made

 "at or before the time of performance", and is thus ineffective. Indeed, the Debtors never

 provided Rusal with the Detail Reports, which could only be accessed by Rusal via Wachovia

 Bank subsequent to Rusal's receipt of the payment in its bank account. See Kellner Cert. at ¶ 2.

 Thus, upon receipt of the payments, Rusal, consistent with the sales contract and its

 understanding with the Debtors, was free to apply them to the oldest open invoices on its books

 for goods sold to the Debtors. Id. at ¶ 7.

                9.      In In re Cornell, 219 B.R. 682 (Bankr. E.D. Pa. 1998), the bankruptcy
 court was faced with an issue that bears substantial similarity to the case sub judice. In Cornell,

 a chapter 11 case, the debtor and a certain cement masons union (the "Union") were parties to

 collective bargaining agreements (the "Agreements") pursuant to which the debtor was required

 to pay monthly contributions to various funds (the "Funds") for employees covered under the

 Agreements. The Funds filed a proof of claim, classified as a priority unsecured claim under 11




                                                 -5-
Case 08-14631-GMB            Doc 642      Filed 09/12/08 Entered 09/12/08 15:49:19                    Desc Main
                                         Document     Page 6 of 7



 U.S.C. § 507(a)(4),3 for contributions due the Funds arising from services rendered by

 employees covered by the Agreements within the 180 days prior to the debtor's bankruptcy

 filing. The debtor objected to the amount of the Union’s proof of claim entitled to priority

 treatment, arguing that the Funds wrongfully allocated certain pre-petition payments made by the

 debtor to contribution assessments due for periods prior to the 180-day priority period. Id. at

 685. Applying Pennsylvania law (similar to the law of New York discussed herein), the Court

 rejected the debtor's argument and held that since there was no evidence of a specific allocation

 of the payments by the debtor, the Union was "entitled to allocate them as it did, i.e., to the

 earliest, pre- 180-day period Assessments delinquencies." Id. at 686.

                  10.      Here, as in Cornell, since the Debtors failed to specifically direct Rusal to

 allocate the subject wire transfer payments to particular open invoices prior to or at the time of

 Rusal's receipt of the funds, Rusal was entitled to allocate them to the oldest open invoices on its

 books for goods sold to the Debtors.             The Debtors' attempt to allocate these payments to

 particular invoices at this juncture is impermissible and must not be allowed. Accordingly, Euler

 respectfully submits that the Debtors' Objection to its Section 503(b)(9) Claim seeking to

 reclassify it as a general unsecured claim must be denied.

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 3
  This subsection, renumbered as 11 U.S.C. § 507(a)(5) under the BAPCPA amendments to the Bankruptcy Code,
 governs the priority status granted to allowed unsecured claims for contributions to an employee benefit plan.


                                                       -6-
Case 08-14631-GMB        Doc 642    Filed 09/12/08 Entered 09/12/08 15:49:19            Desc Main
                                   Document     Page 7 of 7




               WHEREFORE, Euler Hermes ACI respectfully requests that the Court deny the

 Debtors' Objection to its Section 503(b)(9) Claim, direct the Debtors to immediately pay Euler's

 Section 503(b)(9) Claim, and grant Euler such other and further relief as the Court deems just

 and proper.

 Dated: September 12, 2008                           Respectfully submitted,

                                                     /s/ Bruce Buechler
                                                     LOWENSTEIN SANDLER PC
                                                     Michael S. Etkin, Esq. (ME 0570)
                                                     Bruce Buechler, Esq. (BB 0324)
                                                     65 Livingston Avenue
                                                     Roseland, New Jersey 07068
                                                     Tel: (973) 597-2500
                                                     Fax: (973) 597-2400
                                                     Attorneys for Euler Hermes ACI




                                               -7-
